Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 1 of 6




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Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 2 of 6
Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 3 of 6
Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 4 of 6
Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 5 of 6
Case 17-30560 Document 280 Filed in TXSB on 03/01/17 Page 6 of 6
